Case 2:20-cv-12880-JMV-JSA Document 138 Filed 09/30/22 Page 1 of 2 PageID: 4607




 Not for Publication

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


  DANIEL D’AMBLY, et al.,
                 Plaintiffs,
                                                                 Civil Action No. 20-12880
         v.                                                               ORDER

  CHRISTIAN EXOO a/k/a ANTIFASH
  GORDON, et al.,
                 Defendants.


 John Michael Vazquez, U.S.D.J.

        On August 9, 2022, the Court entered an Order and Opinion, D.E. 136, as to Defendants’

 motions to dismiss, D.E. 116, 117, 119. The Court dismissed Counts IV, V and VII as to all the

 Moving Defendants pursuant to Federal Rule of Civil Procedure 12(b)(6). D.E. 136. The Court

 also dismissed Count II as to all Plaintiffs except Daniel D’Ambly pursuant to Federal Rule of

 Civil Procedure 12(b)(2) and as to D’Ambly pursuant to Federal Rule of Civil Procedure 12(b)(6).

 Id. The dismissal was without prejudice, and the Court provided plaintiffs with thirty (30) days to

 file an amended complaint that cured the noted deficiencies. Id. The Court further indicated that

 if Plaintiffs did not file an amended pleading within that time, the claims dismissed without

 prejudice would be dismissed with prejudice. Id. To date, Plaintiffs have not filed an amended

 pleading. As a result, and for good cause shown,

        IT IS on this 30th day of September 2022,
Case 2:20-cv-12880-JMV-JSA Document 138 Filed 09/30/22 Page 2 of 2 PageID: 4608




       ORDERED that II, IV, V and VII are DISMISSED with prejudice as to all the Moving

 Defendants.


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                                                     John Michael Vazquez, U.S.D.J.




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